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                                 EXHIBIT A
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                                                                                                                                    ~                   ...,                                        .            ••• --••-•• _n__ .,, __ ,.,w.,~•-•" -• ---•••   -J --   ,.,_.,,w,--,--•J _,_,.,

                                                                                          Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: Thomas Long




                                              1         Emanuel Thomas, State Bar No. 319906
                                                        THE THOMAS FIRM
                                             2          4017 Long Beach Boulevard
                                                        Long Beach, California 90807
                                              3         Telephone:   (562) 349-0700
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                                             4

                                             5          Attorneys for Plaintiff
                                                       JEFFREY DOTY
                                             6

                                             7

                                             8
                                                                                                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                             9
                                                                                                                                    FOR THE COUNTY OF LOS ANGELES
                                           10

                                           11

                                           12               JEFFREY DOTY,                                                                                                                   Case Number:                                     21 STCV29288

                                           13
                                                                                                             Plaintiff,                                                                       COMPLAINT FOR DAMAGES:
                                           14

                                           15                                              vs.                                                                                                1) VIOLATION OF CIVIL RIGHTS
                                                                                                                                                                                                 PURSUANT TO 42 U.S.C. §1983 -
                                           16
                                                            COUNTY OF LOS ANGELES, a public                                                                                                      ENTITY LIABILITY - MONELL
                                           17               entity; LOS ANGELES COUNTY                                                                                                           CLAIM;
                                                            SHERIFF'S DEPARTMENT, a public                                                                                                    2) VIOLATION OF CIVIL RIGHTS
                                           18
                                                            entity; SHERIFF ALEX VILLANUEVA,                                                                                                     PURSUANT TO 42 U.S.C. 1983 -
                                           19               in his individual and official capacity;                                                                                             EIGHTH AMENDMENT;
                                           20
                                                            HENRY MAYO NEWHALL HOSPITAL;                                                                                                      3) VIOLATION OF CIVIL RIGHTS
                                                            LOS ANGELES MENS CENTRAL JAIL                                                                                                        PURSUANT TO 42 U.S.C. 1983 -
                                           21
                                                            URGENT CARE; UCLA MEDICAL                                                                                                            FOURTEENTH AMENDMENT
                                          22                CLINIC; MEN'S CENTRAL JAIL
                                                            HOSPITAL; and DOES 1 through 100,
                                          23
                                                            inclusive,
                                          24

                                          25                                                                 Defendants.

                                           26
                                                                                             COMES NOW, Plaintiff JEFFREY DOTY (hereinafter "Plaintiff DOTY"), and
                                          27
                                                                  alleges against Defendants, and each of them, as follows:
                                           28
                                                                                                                                                                             Page 1 of 14
                                                                   ····················-···············-······-···-······-·········-···························-··-·-·······························-··-······-·--
                                                                       coMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 u.s.c. §1983 - ENTilY LIABILITY -
                                                                          MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 - EIGHTH AMENDMENT; 3)
                                                                               VIOLATION OF CML RIGHTS PURSUANT TO 42 U.S.C. 1983- FOURTEENTH AMENDMENT
                                                                                  Jeffrey Doty v. County of Los Angeles, et al. - LASC Case No. _ _ _ __
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                                                     PARTIES
      2          1.      Plaintiff DOTY is, and at all relevant times herein was, an individual
      3   residing in the County of Los Angeles, State of California.
      4
                 2.      Plaintiff is informed and believes and based upon such information
      5   and belief alleges that Defendant COUNTY OF LOS ANGELES (hereinafter referred
      6   to as "Defendant COUNTY") is and at all relevant times herein was, a governmental
      7
          entity, chartered municipal corporation or political subdivision of the United States,
      8   organized and existing under the laws of the State of California.
      g
                 3.      Plaintiff is informed and believes and thereon alleges that at all times
     10   relevant herein, Defendant LOS ANGELES COUNTY SHERIFF'S DEPARTMENT
     11   (hereinafter referred to as "Dt:!fendant SHERIFF") was and is a governmental entity
     12
          existing as a political subdivision of the COUNTY OF LOS ANGELES, a chartered
     13
          municipal corporation or political subdivision of the United States, organized and
     14   existing under the laws of the State of California.
     15          4.      Defendants COUNTY and SHERIFF are fully responsible for the
     16   operation and administration of jail facilities within Los Angeles County, including
     17   Men's Central Jail and Twin Towers Correctional Facility. Defendants COUNTY
     18   and SHERIFF have implemented policies and procedures for its correctional
     19   facilities' staff, including prison guards, deputy sheriffs, nurses, medical staff,
     20   physicians, and others to assist inmates who are experiencing health problems.
     21   Defendants COUNTY and SHERIFF are responsible for training its staff in the
     22   application of these policies and procedures, and ensuring they are properly
     23   followed.
     24           5.      At all     times     herein mentioned,         Defendant SHERIFF             ALEX
     25   VILLANUEVA (hereinafter referred to as "Defendant VILLANUEVA") was and is a
     26   law enforcement officer within the State of California, and a policymaker for
     27   Defendant COUNTY with respect to correctional facilities and detention matters. As
     28
                                                      Page2 of14

            COMPLAINT FOR DAMAGES: 1) VIOLATION OF OVIL RIGHTS PURSUANT TO 42 U.S.C. §1983- ENTITY LIABILITY -
              MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- EIGHTH AMENDMENT; 3)
                    VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- FOURTEENTH AMENDMENT
                       Jeffrey Doty t•. County of Los Angeles, et al. - LASC Case No. _ _ _ __
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          such, Defendant VILLANUEVA was responsible for the day to day operation of
      2   correctional facilities, including the provision of medical care to inmates.
      3          6.      Defendant HENRY MAYO NEWHALL HOSPITAL (hereinafter
      4   referred to as "Defendant HENRY MA YO") was and is a medical center employed
      5   by Defendants COUNTY and SHERIFF, responsible for treating inmates house in
      6   correctional facilities. As such, Defendant HENRY MA YO was and is responsible
      7   for the provision of medical care to inmates, including Plaintiff DOTY.
      8          7.      Defendant LOS ANGELES MENS CENTRAL JAIL URGENT CARE
      9   (hereinafter referred to as "Defendant URGENT CARE") was and is a medical center
     10
          employed by Defendants COUNTY and SHERIFF, responsible for treating inmates
     11
          house in correctional facilities. As such, Defendant URGENT CARE was and is
     12
          responsible for the provision of medical care to inmates, including Plaintiff DOTY
     13
                 8.      Defendant UCLA MEDICAL CLINIC (hereinafter referred to as
     14
          "Defendant UCLA") was and is a medical center employed by Defendants
     15
          COUNTY and SHERIFF, responsible for treating inmates house in correctional
     16
          facilities. As such, Defendant UCLA was and is responsible for the provision of
     17   medical care to inmates, including Plaintiff DOTY
     18
                 9.      Defendant LOS ANGELES MENS CENTRAL JAIL HOSPITAL
     19   (hereinafter referred to as "Defendant CENTRAL JAIL HOSPITAL") was and is a
    20    medical center employed by Defendants COUNTY and SHERIFF, responsible for
    21
          treating inmates house in correctional facilities. As such, Defendant CENTRAL JAIL
    22    HOSPITAL was and is responsible for the provision of medical care to inmates,
    23    including Plaintiff DOTY
    24           10.     Plaintiff is ignorant of the true names and capacities, whether
    25    individual, corporate, or associate, of those defendants fictitiously sued as DOES 1
    26    through 100 inclusive, and as such Plaintiff sues them by these fictitious names.
     27   Plaintiff is informed and believe that each of the DOE Defendants resides in the
     28   State of California and are in some manner responsible for the conduct alleged
                                                      Page3of 14

           COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983- ENTITY LIABILITY -
             MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- EIGHTH AMENDMENT; 3)
                   VIOLATrON OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 - FOURTEENTH AMENDMENT
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           herein. Upon discovering the true names and capacities of these fictitiously named
      2    Defendants, Plaintiff will amend this Complaint to show the true names and
      3    capacities of these fictitiously named Defendants.
      4
                  11.     Unless otherwise alleged in this complaint, Plaintiff is informed, and
      5
           on the basis of that information and belief, alleges that at all times herein mentioned,
      6    each of the co-Defendants, whether named or sued fictitiously as a DOE Defendant
      7
           (hereinafter "Defendants"), in doing the things hereinafter alleged, were acting
      8
           within the course, scope and under the authority of their agency, employment, or
      9    representative capacity, with the consent of her/his/its co-defendants. Plaintiff is
     10    informed and believes and thereon alleges that the DOE Defendants are and at all
     11
           times relevant times mentioned herein were, residents of the County of Los Angeles,
     12    State of California.
     13

     14
                                         JURISDICTION AND VENUE
     15           12.     This Court has personal jurisdiction over the Defendants because they
     16    are residents of, employed in, and/or doing business in the State of California.
     17           13.     The jurisdiction of the federal courts over cases arising under the
     18    Constitution and federal law is invoked under 28 U.S.C. §§1331 and 1343(a)(3) and
     19    (4). The supplemental jurisdiction of the federal court over pendent state claims is
     20    invoked under 28 U.S.C. §1367. The Superior Court of this state has original and
     21    concurrent jurisdiction over all claims asserted herein.
     22           14.     This action is also brought pursuant to 42 U.S.C. §1983, and the Eighth
     23    and Fourteenth Amendments of the United States Constitution.
     24           15.     Plaintiff's tort claims are properly filed and venued pursuant to Civil
     25    Code of Procedure §395, because the conduct that gave rise to the liability at issue
     26    occurred in Los Angeles County, California.
     27

      28                      GOVERNMENT CLAIM REQUIREMENTS MET
                                                       Page 4 of 14

            COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.5.C. §1983- ENTITY LIABILITY -
              MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.5.C. 1983 - EIGHTii AMENDMENT; 3)
                    VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.5.C. 1983- FOURTEENTH AMENDMENT
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      1          16.     On or about February 17, 2021, Plaintiff lodged his Government Claim
      2   on the COUNTY OF LOS ANGELES, with the Office of the County Counsel located
      3   at 648 Kenneth Hahn Hall of Administration, 500 West Temple Street, Los Angeles,
      4   California 90012, in substantial compliance with California Government Code §§910, et
      5   seq., providing by way of details that while working in the prison laundry, Plaintiff
      6   DOTY' s foot was run over by a damaged laundry cart, severing his toe. Thereafter,
      7   Plaintiff DOTY' s medical treatment and transport for treatment was on many
      8   occasions delayed and substandard, causing his toe to be permanently amputated
      9   and his body to become severely infected. During his stay in the prison medical
     10   unit, Plaintiff DOTY, an asthmatic, contracted COVID-19, further threatening his life
     11   and frustrating his medical treatment. Plaintiff DOTY thus alleged that Defendants
     12   COUNTY        OF     LOS      ANGELES,         LOS        ANGELES       COUNTY         SHERIFF'S
     13   DEPARTMENT, County-run facilities and unknown employees of those facilities
     14   were negligent by failing to timely transport, obtain and maintain medical care for
     15   Plaintiff DOTY, and that Defendant UCLA failed to provide proper medical care for
     16   Plaintiff DOTY. The COUNTY OF LOS ANGELES denied the claim by letter dated
     17   March 18, 2021.
     18

     19                             FACTS COMMON TO ALL COUNTS
     20          17.     Prior to September 1, 2020, Plaintiff DOTY was on probation for a non-
     21   violent offense. Part of Plaintiff DOTY' s probation required that he not have any
     22   contact with the police.
     23          18.     On or about September 1, 2020, the police were called for a theft
     24   occurring in the area of Plaintiff DOTY' s residence. Plaintiff DOTY did not commit
     25   the theft, and was determined to be innocent of any theft, but since the police came
     26   into contact with him, he was arrested for a violation of his probation. Plaintiff
     27   DOTY was taken into custody, found guilty of the probation violation, and
     28   ultimately sentenced to 180 days in North County Correctional Facility.
                                                      Pages of 14

           COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983- EN111Y LIABILITY -
             MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 - EIGHTH AMENDMENT; 3)
                   VIOLATION OF CML RIGHTS PURSUANT TO 42 U.S.C. 1983- FOURTEENTH AMENDMENT
                      Jeffrey DO~/ z,. Count_11 of L()S A11ge/e$, et al. - LA.SC Case No. _ _ _ __
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                 19.     On November 16, 2020, while incarcerated at North County
      2   Correctional Facility Plaintiff DOTY got a job in the prison laundry. On November
      3   18, 2020, at 6:45 a.m., Plaintiff DOTY stopped to pick up the laundry carts on his way
      4   to the laundry facility. Upon arrival, he and another inmate were asked to come
      5   with the "boss" to the 6000 floor to help put the wet laundry into a cart and take it to
      6   the laundry room. The cart Plaintiff DOTY and the other inmate were assigned to
      7   use to collect the wet laundry had a bad wheel, and would not move in a straight
      8   direction, thus taking two people to push it. Plaintiff DOTY tried to get the wheel
      9   straight, and the other inmate that was helping him pushed the cart really hard,
     10   jolting it forward, running the wheel of the cart over Plaintiff DOTY' s toe and up his
     11   foot. Plaintiff DOTY immediately reported to the "boss" what had happened, and
     12   they returned to the laundry room so Plaintiff DOTY could show the "boss" his foot.
     13   The "boss" told Plaintiff DOTY to sit down, gave him some water, and called for
     14   help, as Plaintiff DOTY' s fourth toe had been partially amputated.
     15          20.     Defendants COUNTY and SHERIFF transported Plaintiff DOTY to
     16   Defendant HENRY MA YO, where the medical staff told him they would try to "fix"
     17   his toe by putting a pin in it to reattach it to his foot.              Plaintiff DOTY was in
     18   Defendant HENRY MAYO for two days before the took him in to surgery to "fix"
     19   his toe.
     20          21.      On November 22, 2020, Plaintiff DOTY was transferred from
     21   Defendant HENRY MAYO to Defendant URGENT CARE, and then sent to the
     22   hospital at Defendant UCLA. At Defendant UCLA, Plaintiff DOTY was tested for
     23   COVID-19, and received a positive result. The following day, Plaintiff DOTY was
     24   transferred back to Defendant CENTAL JAIL HOSPITAL at the Twin Towers, and
     25   put in quarantine for 11 days.
     26           22.     On December 3, 2020, Plaintiff DOTY was transported from the
     27   Defendant CENTRAL JAIL HOSPITAL to 3600/A13, where the doctor instructed
     28   him to do foot exercises; however, Plaintiff DOTY was unable to do those exercises
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            COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983- ENTITY LIABILITY -
              MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 - EIGHTH AMENDMENT; 3)
                    VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- FOURTEENTH AMENDMENT
                       feffrey Doty t>, County of Los Angelrs, et al. - LASC Case No. _ _ _ __
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          because his foot was full of blood and needed to be drained.
      2           23.     On December 9, 2020, Plaintiff DOTY saw the "RN" at Defendant
      3   URGENT CARE, who told him he needed to go see doctor at Twin Towers, because
      4   he needed to be back on antibiotics, but the doctor at Defendant URGENT CARE
      5   would not authorize that transport. Between December 12 and December 19, 2020,
      6   Plaintiff DOTY was left in his cell without medical care on his infected foot.
      7           24.     On December 19, 2020, Plaintiff DOTY opened the bandages on his
      8   foot and showed them to the guard on his roll, begging him to call someone to see
      9   his foot. Plaintiff DOTY finally got a medical pass to have his foot examined. When
     10   the medical team on duty saw his foot, they sent him back to Defendant URGENT
     11   CARE, who immediately rushed him back to Defendant UCLA. The doctor at
     12   Defendant UCLA told Plaintiff DOTY that his toe was "dead," and that it should be
     13   cut off, but because of his heart issues and his recent Covid-19 diagnosis, he did not
     14   think that should be done right away. That doctor put Plaintiff DOTY on antibiotics,
     15   and said he needed to remain on antibiotics. The doctor at Defendant UCLA told
     16   Plaintiff DOTY that he might be able to keep his toe, that he would not have any
     17   feeling in the toe, that the black, dead skin on the toe might just fall off and he could
     18   be okay and, if not, they could always cut his toe off later. Plaintiff DOTY had no
     19   feeling at all in that toe.
     20          25.     On December 20, 2020, the "RN" at Defendant URGENT CARE was
     21   changing Plaintiff DOTY' s bandage, and stated that he did not think Plaintiff
     22   DOTY' s toe was dead, cut off some of the black dead skin and wrapped it back up.
     23          26.     Thereafter, Plaintiff DOTY did not received any further medical care
     24   for his infected and dying toe until he was released on _ _ _ _ _~ 2021. At that
     25   point, however, it was too late. Plaintiff DOTY had to undergo amputation of his
     26   toe.
     27          27.     The Defendants' deliberate indifference to Plaintiff DOTY' s medical
     28   condition and refusal to provide him with timely and adequate medical care and
                                                       Page7of 14

           COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGIITS PURSUANT TO 42 U.S.C. §1983 - ENTITY LIABILITY -
             MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 - EIGH1H AMENDMENT; 3)
                   VIOLATION OF CIVIL RIGHTS PURSUANT 10 42 U.S.C. 1983- FOURTEENTH AMENDMENT
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      1   treatment caused Plaintiff DOTY to suffer severe, permanent medical complications,
      2   including the loss of his toe, exacerbation of his asthma and long-haul Covid
      3   symptoms.
      4
                                          FIRST CAUSE OF ACTION
      5             (VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983
      6                                        (MONELL CLAIM))
      7                                     [Against All Defendants]
      8         28.      Plaintiff DOTY realleges and incorporates by reference the allegations
      9   set forth in the preceding paragraphs of this Complaint.
     10         29.      At all relevant times, Defendants, and each of them, were acting under
     11   color of law by acting or pretending lo act in the performance of their official duties
     12   un<l.t!r state, county, or municipal laws, ordinances, regulations, customs, and/or
     13   usages.
     14         30.      Plaintiff DOTY was entitled to adequate medical care under the Eighth
     15   and Fourteenth Amendments to the United States Constitution, which prohibit state
     16   actors from exhibiting deliberate indifference to the serious medical needs of
     17   inmates.
     18          31.     At all relevant times, Defendants, and each of them, knew they had a
     19   duty to provide Plaintiff DOTY with medical care for serious medical needs,
     20   including medical conditions that cause pain, discomfort or threaten good health, or
     21   that if left unattended would pose a substantial risk to the health of the inmate.
     22          32.     At all relevant times, Defendants, and each of them, knew that Plaintiff
     23   DOTY had been injured while under their custody and control, and was suffering
     24   from substantial pain, a dangerously infected foot, and that his condition was
     25   worsening, but they breached their duties to Plaintiff DOTY by acting with
     26   deliberate indifference to his serious medical conditions.
     27          33.     As described in the foregoing paragraphs, Defendants, and each of
     28   them, violated the Plaintiff DOTY's civil rights by their unreasonable and willful
                                                      Page 8of 14
                                                                        ----·····----··········-···-···············
           COMPLAINT FOR DAMAGES: 1) VIOLATION OF OVIL RIGHI'S PURSUANT TO 42 U.S.C. §1983- ENTITY LIABILITY -
             MONELL CLAIM; 2) VTOLATlON OF CIVIL RIGHI'S PURSUANT TO 42 U.S.C. 1983- EIGHTH AMENDMENT; 3)
                   VIOLATION OF CIVIL RIGHI'S PURSUANT TO 42 U.S.C. 1983 - FOURTEENTH AMENDMENT
                      Jeffrey Doty t•. Coun/_11 of Los Angelfll, el al. - LASC Case No. _ _ _ __
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       1   denial and failure to furnish Plaintiff DOTY with the medical care required to treat
       2   his injured foot, despite having specific knowledge regarding his medical condition.
       3   This pattern and practice of delay, denial, and abusive medical practices against
       4   Plaintiff DOTY constitutes a deliberate indifference to his medical needs.
       5          34.       The conduct of each Defendant violated Plaintiff DOTY' s rights not to
       6   be deprived of life, liberty, or property without due process of law or to be denied
       7   equal protection of the laws as guaranteed by the Fourteenth Amendment, and
       8   entitles Plaintiff DOTY to recover damages pursuant to 42 U.S.C. § 1983.
       9   Defendants, and each of them, violated Plaintiff DOTY's civil rights by denying him
      10   much needed medical care for several weeks, resulting in the amputation of his toe
      11   and severe damage to his foot.
      12          35.       Furthermore, the customs, usage, practices, and policies of the entity
      13   Defendants amounted to deliberate indifference to the rights of Plaintiff DOTY.
      14   Additionally, and in connection with the duty to provide inmates, Defendants, and
      15   each of them, had a duty to adopt policies and procedures to protect inmates' basic
      16   rights and their access to healthcare, which they failed to do. Plaintiff DOTY was
      17   deprived his civil rights as a result of the entity Defendants' failure to train,
      18   supervise, discipline, and instruct their guards, deputies and medical staff regarding
      19   treating injured inmates. Defendants were deliberately indifferent to the need to
      20   train, supervise, instruct, and discipline their guards, deputies and employees
     21    adequately. This failure to provide proper training, supervision, instruction, and
     22    discipline was the cause of the Plaintiff DOTY's deprivation of his Constitutional
     23    rights and amputation of his toe and injury to his foot pursuant to the Eighth and
     24    Fourteenth Amendments.
     25           36.      Moreover, the entity Defendants had actual or constructive knowledge
     26    that the employees subject to this Complaint were engaged in conduct that posed a
     27    pervasive and unreasonable risk of physical and Constitutional injuries to citizens in
      28   a like position to Plaintiff DOTY. Through a long history of complaints and lawsuits
                                                       rage 9 of 14

            COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983- ENTITY LIABILI1Y -
               MONELL CLAIM; 2) VIOLATION Of CIVIL RIGHTS PURSUANT TO 42 US.C. 1983- EIGHTH AMENDMENT; 3)
                        VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- FOURTEENTH AMENDMENT
                           Jeffrey Doty 11. County of Los Angeles, el al. - LASC Case No. _ _ _ __
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           involving allegations similar to those herein, Defendants were aware of the previous
      2    violations of Constitutional rights by its guards, deputies and medical staff. The
      3    entity Defendants' lack of response to the litany of complaints and lawsuits show
      4    deliberate indifference to, or a tacit authorization ot the alleged offensive practices.
      5    The violation of Plaintiff DOTY' s Eighth and Fourteenth Amendment rights
      6    occurred as a result of the result of widespread and settled custom, usage, practice,
      7    and policy of the entity Defendants.
      8           37.     As a proximate result of the entity Defendants' actions, policies,
      9    deliberate indifference, and conduct, Plaintiff was deprived of the necessary and
     10    indicated medical intervention, care, treatment, and follow-up; suffered serious
     11    cntel, and unusual punishment, including amputation of his toe and permanent
     12    injury to his foot.
     13            38.     Defendants' acted recklessly or with callous indifference to Plaintiff
     14    DOTY' s serious medical condition and to Plaintiffs' constitutional rights and should
     15    be assessed punitive damages.
     16            39.     By virtue of the provisions of 42 U.S.C. §1988, Plaintiff DOTY is
     17    entitled to and demands an award of reasonable attorney's fees and costs according
     18    to proof.
     19

     20                                   SECOND CAUSE OF ACTION
     21             (VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983
     22                                      (EIGHTH AMENDMENT))
     23                                       [Against All Defendants]
     24            40.     Plaintiff DOTY realleges and incorporates by reference the allegations
     25    set forth in the preceding paragraphs of this Complaint.
      26           41.     The conduct of the individual Defendants violated Plaintiff DOTY's
      27   right not to be subjected to cruel and unusual punishment while in custody. Not
      28   medically treating Plaintiff DOTY' s partially severed and badly infected toe, despite
                                                        Page lOof 14

             COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983 - ENTITY LIABILITI -
               MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 - EIGHTI-l AMENDMENT; 3)
                     VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 - FOURTEENTH AMENDMENT
                        JeffreJ Doty 1,. County of Lo:; Angeles, et al. - LASC Case No. _ _ _ __
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       1   having specific knowledge of the need, caused Plaintiff DOTY immense pain and
       2   irreparable damage, including the loss of his toe and permanent damage to his foot,
       3   and amounts to cruel and unusual punishment. Despite having specific knowledge
       4   of the foregoing paragraphs, Defendants, and each of them, failed to take reasonable
       5   action to ensure proper medical treatment.
       6          42.     The actions by Defendants as alleged in this Complaint were done
       7   knowingly, willfully, maliciously, oppressively, and with reckless and callous
       8   disregard for Plaintiff DOTY' s Constitutionally protected rights.
       9          43.     At all dates and times herein alleged, Defendants, and each of them,
      10   violated the civil rights of Plaintiff DOTY, and each of them was present and/or was
      11   in a position and of the authority to lawfully intervene and prevent these violations.
      12          44.     In addition, Defendants VILLANUEVA and DOES 1 through 50,
      13   inclusive, were deliberately indifferent to the need to command, train, supervise,
      14   and instruct their guards, deputies and employees adequately to ensure inmates'
      15   Constitutional rights were notbeing violated and that they do not suffer irreparable
      16   physical and emotional harm. Defendants VILLANUEVA and DOES 1 through 50,
      17   inclusive, had actual or constructive knowledge that his subordinates were engaged
      18   in a pattern of conduct that posed pervasive and unreasonable risks of
      19   Constitutional injury.       Furthermore, through a history of complaints, studies,
     20    investigations, reports, and lawsuits, Defendants VILLANUEVA and DOES 1
     21    through 50, inclusive, were aware of previous violations of Constitutional rights and
     22    inadequate medical care, and their lack of response constitutes a policy or custom
     23    that in and of itself is a repudiation of Constitutional rights. Additionally, and in
      24   connection with the duty to provide inmates with adequate medical care,
     25    Defendants had a duty to adopt policies and procedures to protect inmates' basic
      26   rights and their access to healthcare, which they failed to do.
      27          45.     As a proximate result of the entity Defendants' actions, policies,
      28   deliberate indifference, and conduct, Plaintiff DOTY was deprived of the necessary
                                                       Page 11 of14

            COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIl.. RIGHTS PURSUANT TO 42 U.S.C. §1983- ENTITY LIABILITY-
              MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- EIGHTH AMENDMENT; 3)
                    VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- FOURTEENTH AMENDMENT
                       Jeffrey Doty t>. County of Los Angeles, et al. - 1.ASC Case No. _ _ _ _ __
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      1    and indicated medical intervention, care, treatment, and follow-up; suffered serious
      2    cruel, and unusual punishment, including amputation of his toe and permanent
      3    damage to his foot.
      4          46.     Defendants acted recklessly or with callous indifference to Plaintiff
      5    DOTY' s serious medical condition and to Plaintiff DOTY' s constitutional rights and
      6    should be assessed punitive damages.
      7           47.    By virtue of the provisions of 42 U.S.C. §1988, Plaintiff DOTY is
      8    entitled to and demands an award of reasonable attorney's fees and costs according
      9    to proof.
      10

      11                                    THIRD CAUSE OF ACTION
      12           (VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983
      13                                 (FOURTEENTH AMENDMENT))
      14                                       [Against All Defendants]
      15          48.     Plaintiff DOTY realleges and incorporates by reference the allegations
      16   set forth in the preceding paragraphs of this Complaint.
      17          49.     The conduct of Defendants, and each of them, violated Plaintiff
      18   DOTY's right not to be deprived of life, liberty, or property without due process of
      19   law guaranteed by the Fourteenth Amendment to the U.S. Constitution, and entitles
      20   Plaintiff DOTY to recover damages pursuant to 42 U.S.C. §1983.
      21          50.     Defendants, and each of them, violated Plaintiff DOTY's civil rights by
      22   denying him much needed medical care. This pattern of delay, denial, and abusive
      23   medical practices against Plaintiff DOTY constitutes deliberate indifference to
      24   Plaintiff DOTY' s medical needs. Additionally, and in connection with the duty to
      25   provide inmates with timely and adequate medical care, Defendants, and each of
      26   them, had a duty to adopt policies and procedures to protect inmates' basic rights
      27   and their access to healthcare, which they failed to do.
      28          51.     At all dates and times alleged herein, Defendants, and each of them,
                                                          Page 12 of 14

            COMPLAINT FOR DAMAGES: 1) VIOLATION Of CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983- ENTITY LIABILITY -
              MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- EIGHTH AMENDMENT; 3)
                    VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- FOURTEENTH AMENDMENT
                        Jeffrey Doty 1 Cou11ty of Los A11gelei;, et al. - LASC Case No. _ _ _ __
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           were present and/or were in the position to lawfully intervene and prevent the civil
      2    rights violations to Plaintiff DOTY.                   Each Defendant knowingly, willfully,
      3    maliciously, oppressively, and with reckless and callous disregard for Plaintiff
      4    DOTY' s federally protected civil rights, violated such rights by ignoring Plaintiff
      5    DOTY' s medical needs, which amounted to deliberate indifference. This failure and
      6    the failure to provide the proper training, supervision, and instruction was the cause
       7   of the deprivation of Plaintiff DOTY' s rights under the Fourteenth Amendment to
      8    the U.S. Constitution.
      9           52.     Each Defendant was personally involved in this failure to provide
      10   Plaintiff DOTY with medical treatment despite their knowing of his serious medical
     11    need. Defendants, and each of them, had actual or constructive knowledge that
     12    their subordinates were engaged in conduct that posed serious risk of
     13    Constitutional, physical, and emotional harm to Plaintiff DOTY.
      14          53.     There is an affirmative causal link between the Defendants' actions
     15    and/or inactions and the particular injury suffered by Plaintiff DOTY. As a direct
     16    and proximate result of Defendants, and each of their actions, and the custom and
     17    usage, practice, and policies of Defendants, Plaintiff DOTY has suffered loss, injury,
     18    and damages as herein alleged.
     19

     20                                   DEMAND FOR JURY TRIAL
     21           Plaintiff DOTY hereby demands Trial by jury.
     22

     23                                         PRAYER FOR RELIEF
     24           WHEREFORE, Plaintiff DOTY prays for judgment against Defendants, and
     25    each of them, as follows:
     26           1.      For general damages according to proof;
     27           2.      For special damages according to proof;
     28

                                                         Page 13of 14
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            COMPLAINT FOR DAMAGES: 1) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. §1983 - ENTITY UABrLITY -
              MONELL CLAIM; 2) VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983- EIGHIB AMENDMENT; 3)
                    VIOLATION OF CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 - FOURTEENTH AMENDMENT
                       Jeffrey Doty 11• County of Los Angele::, et al. - LASC Case No. _ _ _ _ __
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                3.      For punitive damages, except against Defendants COUNTY and
      2
                        SHERIFF;
      3         4.      For the costs of suit incurred herein;
      4         5.      For interest as thereon provided by law;
      5         6.      For attorney's fees; and
      6         7.      For such other and further relief as this Court may deem just and
      7
                        proper.
      8

      9         Dated: August .12021.
     10
                                                  THE THOMAS FIRM
     11



     13

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                                           By:._ _ _ _-"'_____________
                                                  EMANUEL THOMAS
                                                  Attorneys for Plaintiff
     15
                                                  JEFFREY DOTY
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                     VIOLATION OF CML RIGHTS PURSUANT TO 42 U.S.C. 1983- FOURTEENTH AMENDMENT
                       Jeffrey Daty 11. County of Los Angeles, et al. - LASC Case No. _ _ _ _ __
